
Per Curiam.
A motion for reargument is allowed only where it appears that some question decisive of the case, and which was presented by counsel upon the argument, has been overlooked by the court, or that the decision is inconsistant with some statute, or with a coni rolling decision, to which the attention of the court was not drawn, through the neglect or inadvertence of counsel. Rule 16, Gen. Term Com. PI. N. Y. The opinion handed down at the time of the decision of the appeal herein (4 Misc. Rep. 528 ; 59 St. Rep. 125;) refutes the claim that either of the grounds above specified exists, and the plain purport of this motion is no other than to secure a second hearing upon the same points and facts which have been exhaustively examined and discussed in the opinion of the court. Motion for reargument denied, with costs.
